Case 2:05-cv-02219-BBD-dkv Document 5 Filed 06/07/05 Page 1 of 2 Page|D 1

IN THE UNITED sTATEs DISTRICT coURT F*'~ED U~Y . D.C.
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIvIsIoN 95 JUH -7 PH 2= 5|

 

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w.M. BARR AND CoMPANY, INC., W.'§H§;i: L~’ms §E§L,'F~BFS

Plainciff,
v. No. 05-2219-D-v

DYNACRAFT INDUSTRIES, INC.,
d/b/a BACK 'I`O NATURE PRODUCTS, CO.,

Defendant.

 

ORDER EXTENDING TIME F()R DEFENDANT TO ANSWER, MOVE
OR OTHERWISE RESPOND TO PLAINTIFF'S AMENDED COMPLAINT

 

IT APPEARING TO THE COURT that the motion of the defendant for an extension of
time to answer, move or otherwise respond to the amended complaint is for good cause and
should be granted;

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that defendant shall
have up to and including June 17, 2005, to answer, move or otherwise respond to the amended

complaint in this cause.

jl ,/,§M, 75 %@Wr

Be'rn`l'é'e'§.vl')onald
United States District Judge

Date: JQ/M/VLI 7/ godb”_

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
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Honorable Bernice Donald
US DISTRICT COURT

